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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


    SOLAS OLED LTD.

       Plaintiff,                              Case No. 2:21-cv-00105-JRG

            v.

    SAMSUNG ELECTRONICS CO., LTD. AND
    SAMSUNG ELECTRONICS AMERICA, INC.,

       Defendants.




                         PLAINTIFF SOLAS OLED LTD.’S
                       DESIGNATION OF LEAD ATTORNEY
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          Plaintiff Solas OLED Ltd. (“Solas”) hereby designates Marc A. Fenster as the lead attorney

   for Solas in the above-captioned matter.



   Dated: May 9, 2022                                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that the counsel of record who are deemed to have consented to electronic

   service are being served on May 9, 2022 with a copy of this document via the Court’s ECF system

   and via electronic mail.


   DATED: May 9, 2022                                  Respectfully submitted,

                                                       By: /s/ Philip X. Wang
                                                             Philip X. Wang
